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               IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff                                    CRIMINAL 15-0284-01CCC
vs
1) NATALIA LABORDE-PABELLON
(Counts 1 through 4)
2) GLORIMAR
DEL VALLE-CABALLERO (Counts 1
through 4)
3) MIGUEL HERNANDEZ-JOGLAR
(Counts 1 and 2)
Defendants


                                     ORDER

     Having considered the Report and Recommendation filed on April 12,
2016 (d.e. 101) on a Rule 11 proceeding of defendant [1] Natalia
Laborde-Pabellón before U.S. Magistrate-Judge Camille L. Vélez-Rivé on
April 12, 2016, to which no objection has been filed, the same is APPROVED.
Accordingly, the plea of guilty of defendant is accepted. The Court FINDS that
her plea was voluntary and intelligently entered with awareness of her rights
and the consequences of pleading guilty and contains all elements of the
offense charged in the indictment.
     This case was referred to the U.S. Probation Office for preparation of a
Presentence Investigation Report since April 12, 2016. The sentencing
hearing is set for July 13, 2016 at 4:15 PM.
     The U.S. Probation Officer is reminded that, should any objections be
raised by defendant to the PreSentence Report, the Addendum to said
PreSentence Report must specifically identify any unresolved objections, the
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grounds for the objections, and the U.S. Probation Officer’s comments on
them, as required by Fed. R. Crim. P. 32(g). The party that raised the
unresolved objections shall, within twenty-four (24) hours after the
Addendum is disclosed, state in writing whether it will insist that the unresolved
objections be ruled upon by the Court. Failure to do so will be deemed by the
Court as a withdrawal of the unresolved objections.
      SO ORDERED.
      At San Juan, Puerto Rico, on May 4, 2016.



                                     S/CARMEN CONSUELO CEREZO
                                     United States District Judge
